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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  4:10CR3052
                                              )
              v.                              )
                                              )
MY TAN CAO, DA VAN CAO,                       )       MEMORANDUM AND ORDER
                                              )
                     Defendants.              )

       The government has disclosed new evidence.           The defendants therefore need
additional time to prepare for trial. After conferring with counsel,


       IT IS ORDERED:

       1)     Trial is reset to commence at 9:00 a.m. on March 14, 2011, for a duration of
              seven trial days before the District Judge Richard J. Kopf in Courtroom 1,
              United States Courthouse and Federal Building, 100 Centennial Mall North,
              Lincoln, Nebraska. Jury selection will be at the commencement of trial.

       2)     In the interests of justice, and for the reasons discussed above, the time
              between today’s date and March 14, 2011 shall be deemed excludable time in
              any computation of time under the requirements of the Speedy Trial Act, for
              the reason that the parties require additional time to adequately prepare the
              case, taking into consideration due diligence of counsel, the novelty and
              complexity of the case, and the fact that the failure to grant additional time
              might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       DATED this 27 th day of January, 2011.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
